  Case 03-34626       Doc 71     Filed 03/15/13 Entered 03/15/13 15:13:55              Desc Main
                                   Document     Page 1 of 4


                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

IN RE:                                        )
                                              )
ANDREW DOUGLAS MICKLER                        )       Case No. 03-34626
                                              )       Chapter 7
                                              )
                      Debtor.                 )

         MOTION FOR APPROVAL OF AND AUTHORIZATION TO PAY FINDER’S FEE

       NOW COMES A. Burton Shuford, Trustee, by and through undersigned counsel and respectfully
shows unto the Court the following:

   1. The Debtor filed a petition for relief under Chapter 7 of the United States Bankruptcy Code on
      December 15, 2003, and A. Burton Shuford was appointed Chapter 7 Trustee.

   2. The Trustee’s Final Report and Account was filed on June 6, 2005 and the subsequent Amended
      Trustee’s Final Report and Account was filed on June 8, 2005[Docket #42].

   3. An Order approving the Final Report and Awarding Compensation to Professional(s) was
      entered on January 25, 2006 [Docket #51].

   4. A Final Decree Closing Case was entered on July 5, 2006 [Docket #59].

   5. After the closing of Debtor’s case, the Trustee became aware of assets of the Bankruptcy Estate
      that were not administered. Specifically, the Trustee learned that a parcel of Real Property
      disclosed on Debtor’s petition, but surrendered by the Debtor, was foreclosed upon during the
      pendency of this case which foreclosure resulted in a surplus of funds of approximately
      $28,630.14 (the “Surplus Funds”) which proceeds were being held by the Clerk of Superior
      Court of Cabarrus County.

   6. The Surplus Funds were discovered by Shawn Buige of The Results Team (the “Results Team”).
      The Results Team contacted the Trustee and informed the Trustee of the existence of the Surplus
      Funds. The Results Team agreed to disclose the information concerning the Surplus Funds in
      consideration of the Trustee’s agreement to reopen this case and to file a motion seeking
      approval of a finder’s fee of twenty-five percent (25%) of the Surplus Funds (approximately
      $7,157.54 (the “Finder’s Fee”).

   7. On August 15, 2012, the Trustee filed his Amended Motion to Reopen Bankruptcy Case [Docket
      #63], which motion was granted on August 15, 2012 [Docket #64].

   8. Pursuant to this Motion, the Trustee seeks approval of and authorization to pay the 25% Finder’s
      Fee to the Results Team from the Surplus Funds.
  Case 03-34626       Doc 71     Filed 03/15/13 Entered 03/15/13 15:13:55             Desc Main
                                   Document     Page 2 of 4


   9. The Trustee believes that the Finder’s Fee is reasonable under the circumstances given the fact
      that without the effort undertaken by the Results Team the Surplus Funds would never have
      come into the estate.

        WHEREFORE, the Trustee prays that the Court enter an order approving the Finder’s Fees and
authorizing the Trustee to pay said Finder’s Fee from the Surplus Funds.

       This the 15th day of March, 2013.

                                              /s/ A. Burton Shuford
                                              A. Burton Shuford, NCBN 10035
                                              The Bain Group, PLLC
                                              8320 University Executive Park Drive, Suite 110
                                              Charlotte, NC 28262
                                              Direct Dial: (980) 321-7000
                                              bshuford@thebaingroup.net
                                              Attorney for the Trustee
  Case 03-34626       Doc 71     Filed 03/15/13 Entered 03/15/13 15:13:55            Desc Main
                                   Document     Page 3 of 4


                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

IN RE:                          )
                                )
ANDREW DOUGLAS MICKLER          )     Case No. 03-34626
                                )     Chapter 7
                                )
                Debtor.         )
 NOTICE OF MOTION FOR APPROVAL OF AND AUTHORIZATION TO PAY FINDER’S FEE

             A. BURTON SHUFORD, Chapter 7 Trustee in Bankruptcy, through his attorney, has
filed papers with the Court as described above. A copy of the Motion is included with this
Notice.
             Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,
you may wish to consult one.
              If you do not want the Court to grant the relief requested in the Motion, or if you
want the Court to consider your views on the Motion, then on or before 15 days from the date of
this notice you or your attorney must file with the Court a written response to the Motion
requesting that the Court hold a hearing and explaining your position. Your response must
comply with local Bankruptcy Rule 9013-1 and filed at: Clerk, United States Bankruptcy Court
                                        401 W. Trade Street
                                        Charlotte, NC 28202
        If you mail your response to the Court for filing, you must mail it early enough so that the
Court will receive it on or before the date stated above. You must also mail a copy to:
                                      A. Burton Shuford, Esq.
                           8320 University Executive Park Dr. Suite 110
                                        Charlotte, NC 28262
        No hearing will be held on this Motion unless a response is timely filed and served, in
which case, the Court will conduct a hearing on April 11, 2013, 9:30 a.m., at the United States
Bankruptcy Court, 401 West Trade Street, Charlotte, North Carolina. No further notice of this
hearing will be given. If you or your attorney do not take these steps, the Court may decide that
you do not oppose the relief sought in the Motion and may enter an order granting the requested
relief.

This the 15th day of March, 2013.             /s/ A. Burton Shuford
                                              A. Burton Shuford, NCSB No. 10035
                                              Attorneys for the Plaintiff
                                              The Bain Group, PLLC
                                              8320 University Executive Park Drive, Ste. 110
                                              Charlotte, NC 28262
                                              Telephone: 980-321-7000
  Case 03-34626         Doc 71     Filed 03/15/13 Entered 03/15/13 15:13:55             Desc Main
                                     Document     Page 4 of 4




                             UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION

IN RE:                                         )
                                               )
ANDREW DOUGLAS MICKLER                         )       Case No. 03-34626
                                               )       Chapter 7
                                               )
                         Debtor.               )

                                      CERTIFICATE OF SERVICE

        I hereby certify that I have this day served a copy of the MOTION FOR APPROVAL OF AND
AUTHORIZATION TO PAY FINDER’S FEE by either Electronic Case Filing as indicted below or by
depositing copies of same in the exclusive care and custody of the United States Postal Service, with
proper postage thereto affixed to the parties listed herein below and on attached Exhibit A:

Linda W. Simpson                                   Via Electronic Case Filing
Bankruptcy Administrator

Richard L. Robertson                               Via Electronic Case Filing and US Mail
2730 East W.T. Harris Blvd.
Suite 101
Charlotte, NC 28213

Andrew Douglas Mickler
7885 37th Street
Vero Beach, FL 32960

         This the 15th day of March, 2013.


                                               /s/ A Burton Shuford
                                               A. Burton Shuford, NCBN 10035
                                               The Bain Group, PLLC
                                               8320 University Executive Park Drive, Suite 110
                                               Charlotte, NC 28262
                                               Direct Dial: (980) 321-7000
                                               bshuford@thebaingroup.net
                                               Attorney for the Trustee
